                                   UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW MEXICO

In re:
DOROTHY MARIE BYRD,
       Debtor(s)                                                                       No. 18-11852-t7

                        NOTICE OF DEADLINE FOR FILING OBJECTIONS TO
                  TRUSTEE’S APPLICATION TO EMPLOY REAL ESTATE CONSULTANT

         Please take notice that on November 21, 2018, Philip J. Montoya, Trustee, forwarded to the Court for
filing, Application to Employ Real Estate Consultant, in which he asks the Court for its Order allowing him to
employ Patrick Butler of BK Global Real Estate Services as real estate consultant to render services to the Trustee
concerning the sale of real property and improvements located at 10516 Towner Ave. NE, Albuquerque, New
Mexico 87112. Specifically, BK Global will facilitate a short sale with secured lender(s). The consultant’s
compensation on completed sale will be 2.00% of the sales price and TAL Realty will be compensated 4.00%. A
copy of the aforesaid Application is on file with the Bankruptcy Court Clerk and is available for public
inspection.

       IF YOU OBJECT to the Application, you must file an objection with the Clerk of United States
Bankruptcy Court, Pete V. Domenici Federal Building and United States Courthouse, 333 Lomas Blvd NW, Suite
360, Albuquerque, NM 87102, within 21 days of the date of service of this notice. If you are an attorney, you
must electronically file your objection. You must serve your objection to Philip J. Montoya, Attorney for
Applicant, 1122 Central Avenue SW, Suite 3, Albuquerque, New Mexico 87102, (505) 244-1152.

        If objections are timely filed, a hearing to consider them will be had before the Honorable David Thuma,
in the United States Bankruptcy Court, 5th Floor, Pete V. Domenici Federal Building and United States
Courthouse, 333 Lomas Blvd NW, Albuquerque, New Mexico on short notice to Philip J. Montoya and any
objecting party. If no objections are timely filed, the Court may consider entry of an Order granting application
which has been presented to the Court.
                                                        Filed electronically
                                                        Philip J. Montoya
                                                        Attorney for Trustee
                                                        1122 Central Avenue SW, Suite 3
                                                        Albuquerque, NM 87102
                                                        Tel: (505) 244-1152
                                                        pmontoya@swcp.com

I certify that I mailed a copy of this notice, via first class mail to the Debtors, c/o his attorney of record, and all
creditors and parties of interest included on the mailing matrix. A copy of the mailing matrix is attached to the
original of this notice.
                                                         Filed electronically
                                                         Philip J. Montoya
Date of Mailing:         11/21/18

Note: Inquiries regarding this hearing should be directed to Philip J. Montoya, Attorney for Trustee, 1122
Central Avenue SW, Suite 3, Albuquerque, New Mexico 87102, (505) 244-1152 pmontoya@swcp.com.




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